                 IN THE UNITED STATES DISTRICT COURT
                  FOR THE NORTHERN DISTRICT OF IOWA
                           WESTERN DIVISION

DANNY WISNER,
              Plaintiff,                       No. 14-CV-4031-DEO
v.                                        ORDER ON MOTION TO DISMISS
CITY OF SIOUX CITY, BOB
SCOTT, JOHN FITCH, BRIDEY
HAYES, JADE DUNDAS, BRIAN
FAHRENDHOLZ, BRAD BALDWIN,
and PATRICK SIMONS
              Defendants.

                           ____________________


I.   INTRODUCTION

     Currently before this Court is Defendant City of Sioux

City’s [hereinafter the Defendants] Motion(s) to Dismiss,

Docket Nos. 12 and 13.12            After listening to the parties’

arguments and considering the various filings, the Court took

the issues under advisement and now enters the following.




     1
       The various Defendants present a unified argument, so
for convenience sake, they will be referred to collectively as
the Defendants.
     2
       The Motions to Dismiss, Docket Nos. 12 and 13, present
duplicate arguments.      The Court will refer to them
collectively as the Motion to Dismiss.


         Case 5:14-cv-04031-DEO Document 26 Filed 03/20/15 Page 1 of 17
II.   BACKGROUND

      At this stage of the case, few facts are before the

Court.       But the following outline of the case is clear based

on the parties’ filings.

      The Plaintiff, Mr. Wisner, began working as a fire-

fighter for the City of Sioux City in 1991.                           In 2004,

Plaintiff was determined to be unable to continue his duties

as a firefighter due to a heart condition and was awarded a

disability retirement pursuant to I.C.A. Chapter 411.3                       In

2011, the Plaintiff applied for employment with the City as a

“maintenance worker” in the Field Services Department.                      Mr.

Wisner passed the civil service examinations and was placed on

the hiring list.         Plaintiff was offered a maintenance worker

position       conditioned     on   the       results   of   a   pre-employment


      3
       I.C.A. Chapter 411 creates a special retirement program
for Iowa fire-fighters and police officers. That section’s
purpose is to “[p]rovide an orderly means for police officers
and fire fighters to have a retirement system which will
provide for the payment of pensions to retired members and
members incurring disabilities, and to the surviving spouses
and dependents of deceased members [and]          [p]rovide a
comprehensive disability program for police officers and fire
fighters   to   include  standards    for  entrance   physical
examinations, guidelines for ongoing fitness and wellness,
disability pensions, and postdisability retirement compliance
requirements.” I.C.A. § 411.1A.

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          Case 5:14-cv-04031-DEO Document 26 Filed 03/20/15 Page 2 of 17
physical which he passed without restriction.                 The City hired

Ms. Wisner as a probationary employee on or about November 14,

2011.      However,     after       he   started   working,   the    City     had

numerous issues with his work performance.                  Specifically, it

was alleged that Mr. Wisner did not meet the performance

expectations for the position, that he lacked motivation to

learn    the    job    responsibilities        and     assignments       of   the

position,      and    that    he    required   a    great   deal    of    direct

supervision to keep him motivated.                 Approximately six months

after    starting      work    as    a    maintenance    worker,     the      City

terminated Mr. Wisner’s employment.

    The Plaintiff asserts a number of claims arising out of

his termination.        First, in Count I, Mr. Wisner alleges that

the Defendants committed defamation.                In Count II, Mr. Wisner

alleges a breach of good faith.                In Count III, Mr. Wisner

alleges that he was discriminated against because he was

perceived as “double dipping” for receiving a disability

pension while employed as a maintenance worker.                     Mr. Wisner

grounds his legal claim in Count III in the American’s with

Disabilities Act.        Finally, in Count IV, Mr. Wisner alleges

retaliation under I.C.A. § 216.


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        Case 5:14-cv-04031-DEO Document 26 Filed 03/20/15 Page 3 of 17
III.    MOTION TO DISMISS STANDARD

       The notice pleading standard of Federal Rule of Civil

Procedure 8(a)(2) requires a plaintiff to give “a short and

plain statement showing that the pleader is entitled to

relief.”      In order to meet this standard and to survive a

motion   to   dismiss,    “a   complaint     must   contain    sufficient

factual matter, accepted as true, to state a claim to relief

that is plausible on its face.”          Ashcroft v. Iqbal, 556 U.S.

662, 663 (2009) (internal quotations and citation omitted).

This requirement of facial plausibility means that the factual

content of the plaintiff's allegations must “allow[ ] the

court to draw the reasonable inference that the defendant is

liable for the misconduct alleged.”           Cole v. Homier Distrib.

Co. Inc., 599 F.3d 856, 861 (8th Cir. 2010).                Furthermore,

courts must assess the plausibility of a given claim with

reference to the plaintiff’s allegations as a whole, not in

terms of the plausibility of each individual allegation.

Zoltek Corp. v. Structural Polymer Group, 592 F.3d 893, 896 n.

4 (8th Cir. 2010) (internal citation omitted).              This inquiry

is “a context-specific task that requires the reviewing court




                                     4


       Case 5:14-cv-04031-DEO Document 26 Filed 03/20/15 Page 4 of 17
to draw on its judicial experience and common sense.”                               Iqbal,

556 U.S. at 664.

      “While a complaint attacked by a Rule 12(b)(6) motion to

dismiss     does    not     need    detailed           factual     allegations,         a

plaintiff’s    obligation          to    provide        the    ‘grounds’        of    his

‘entitlement       to     relief’       requires        more     than    labels       and

conclusions, and a formulaic recitation of the elements of a

cause of action will not do.” Bell Atlantic Corp. v. Twombly,

550 U.S. 544, 555 (2007) (internal alterations and citations

omitted).     Nevertheless, although the “plausibility standard

requires a plaintiff to show at the pleading stage that

success on the merits is more than a sheer possibility,” it is

not a “probability requirement.”                   Braden v. Wal–Mart Stores,

Inc., 588 F.3d 585, 594 (8th Cir. 2009).                                As such, “a

well-pleaded complaint may proceed even if it strikes a savvy

judge that actual proof of the facts alleged is improbable,

and that a recovery is very remote and unlikely,”                             Id.

      In assessing “plausibility,” as required by the Supreme

Court in Iqbal, the Eighth Circuit Court of Appeals has

explained that courts should consider only the materials that

are   necessarily       embraced        by       the   pleadings        and   exhibits


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      Case 5:14-cv-04031-DEO Document 26 Filed 03/20/15 Page 5 of 17
attached to the complaint. See Mattes v. ABC Plastics, Inc .,

323 F.3d 695, 697 n. 4 (8th Cir. 2003), stating that “in

considering a motion to dismiss, the district court may

sometimes consider materials outside the pleadings, such as

materials that are necessarily embraced by the pleadings and

exhibits attached to the complaint.           Porous Media Corp. v.

Pall Corp., 186 F.3d 1077, 1079 (8th Cir. 1999).              The Court

may also consider “materials that are part of the public

record or do not contradict the complaint.” Miller v. Redwood

Toxicology Lab., Inc., 688 F.3d 928, 931 (8th Cir. 2012).             “A

more complete list of the matters outside of the pleadings

that a court may consider, without converting a Rule 12(b)(6)

motion to dismiss into a Rule 56 motion for summary judgment,

pursuant to Rule 12(d), includes matters incorporated by

reference or integral to the claim, items subject to judicial

notice, matters of public record, orders, items appearing in

the record of the case, and exhibits attached to the complaint

whose authenticity is unquestioned.”             Van Stelton v. Van

Stelton, 11-CV-4045-MWB, 2013 WL 3776813 (N.D. Iowa 2013)

(internal citations omitted).




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     Case 5:14-cv-04031-DEO Document 26 Filed 03/20/15 Page 6 of 17
IV.    ISSUES

      Defendants’ Motion to Dismiss raises two main issues.

The Defendants’ primary argument is that Mr. Wisner has failed

to    make    a    cognizable   claim    under   the    American’s       with

Disabilities Act.        Secondly, the Defendants argue that Mr.

Wisner’s various state law claims are insufficiently plead.

V.    ANALYSIS

      A.     Disability Claim

      The Americans with Disabilities Act (ADA), including

changes made in the ADA Amendments Act of 2008 (ADAAA),

prohibits an employer from discriminating against a qualified

employee on the basis of the employee’s disability in regard

to job application procedures, the hiring, advancement, or

discharge of the employee compensation, job training, and

other terms, conditions, and privileges of employment.                     42

U.S.C. § 12112(a); Tusing v. Des Moines Indep. Community Sch.

Dist., 639 F.3d 507, 518 (8th Cir. 2011).                Pursuant to the

ADA, to establish a discrimination claim, an employee must

show that he (1) is disabled within the meaning of the ADA,

(2) is a qualified individual under the ADA, and (3) has

suffered      an   adverse   employment    action      because   of     [his]

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       Case 5:14-cv-04031-DEO Document 26 Filed 03/20/15 Page 7 of 17
disability.         E.E.O.C. v. Prod. Fabricators, Inc., 2014 WL

3971477, 23 (8th Cir. 2014).            “A ‘qualified individual with a

disability’ is ‘an individual with a disability who, with or

without reasonable accommodation, can perform the essential

functions of the employment position that such individual

holds    or     desires.’      42     U.S.C.   §   12111(8).”       Young   v.

Warner-Jenkinson Co., 152 F.3d 1018, 1021 (8th Cir. 1998).

When no direct evidence of discrimination is put forward, a

discrimination claim is analyzed under the burden-shifting

framework set forth in McDonnell Douglas Corp. v. Green, 411

U.S. 792, 802–03 (1973) and its progeny.               Young, 152 F.3d at

1021.       Under    the    burden-shifting        analysis   of   McDonnell

Douglas, a plaintiff must first establish a prima facie case

of discrimination.           If the plaintiff does so, the burden

shifts     to     the      employer     to     articulate     a    legitimate

non-discriminatory reason for the adverse employment decision.

Id.     If the employer provides such a reason, then the burden

shifts back to the plaintiff to present evidence that the

employer’s reason was mere pretext.




                                        8


        Case 5:14-cv-04031-DEO Document 26 Filed 03/20/15 Page 8 of 17
    In his Complaint, Mr. Wisner alleges:

            Defendant knowing[ly] participated in or
            had   knowledge   of   discrimination    of
            Plaintiff due to his disability which he is
            protected under the ADA Title VII.      All
            Defendants had knowledge of Plaintiff’s
            disability pension from MFPRSI and all
            participated in discriminating against
            Plaintiff for such. Instead of Defendants
            taking appropriate action, [they] chose to
            facilitate Plaintiff’s termination.

Docket No. 1, p. 22.

    As stated above, there are three elements to a prima

facie ADA claim.       In this case, the Defendants argue that Mr.

Wisner has failed to allege either of the first two elements

to the prima facie claim.4        In its brief, the Defendants argue

that:

            [t]he Plaintiff is not a disabled person
            within   the   meaning    of   the   statute,
            specifically Plaintiff passed the physical
            examination    for   the    position   as   a
            maintenance worker.     Plaintiff has never
            claimed in his complaint [] filed with the
            ICRC   or   with   this    Court   that   any
            “disability” prevented him from performing
            the essential functions of the position or
            prevented him from meeting the minimum
            expectations for the position. Plaintiff
            further did not at any time request any
            accommodation    to    meet    the    minimum


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       It is clear Mr. Wisner did suffer an adverse employment
action, he was fired, which is the third element.

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        Case 5:14-cv-04031-DEO Document 26 Filed 03/20/15 Page 9 of 17
           expectations for the position. Plaintiff’s
           claims regarding disability discrimination
           are based upon claims that his termination
           was sought as a result of the perception
           that he was “double dipping” and not upon
           any specific age or disability related
           factors.     Plaintiff’s claims in the
           Petition are that he was discriminated
           against for “double dipping”, i.e. drawing
           a pension from MFPRSI is not a recognizable
           claim under the ADA, Title VII or ADEA.

Docket No. 12, Att. 2, p. 6-7.         The Defendant is correct.        Mr.

Wisner fails to allege either a cognizable disability or that

he is a qualified individual.

     Mr. Wisner admits as much in his brief:

           Plaintiff has never attempted to use his
           disability as a crutch or to expect special
           treatment from an employer. Plaintiff was
           only looking for a job with benefits. The
           Defendants however, have made an issue of
           Plaintiff’s      disability     pension...
           Defendants claim is Plaintiff does not meet
           disability by definition but yet terminated
           him because he is receiving a disability
           pension.

Docket No. 17, Att. 1, p. 6.        Mr. Wisner’s theory of his case

is   simple.     He   believes    he     was   terminated   because     the

Defendant did not like him working for the City of Sioux City,

while also receiving an unrelated government pension.




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      Case 5:14-cv-04031-DEO Document 26 Filed 03/20/15 Page 10 of 17
    The burden to survive a Motion to Dismiss is low.                        A

plaintiff must only allege a plausible cause of action.

However, in this claim, Mr. Wisner has failed to do so.                   Even

if the Defendants did exactly what Mr. Wisner say, fired him

because he was receiving a different disability pension, that

does not violate the ADA.            As stated above, to make an ADA

prima facie case, the Plaintiff must allege a disability and

then state he was qualified to do his job in spite of that

disability.        Mr.   Wisner     does   not   allege   that   an   actual

disability figured in, in any way, to the Defendants’ decision

to fire him.       Rather, Mr. Wisner contends that he was fired

because the Defendants objected to him working while receiving

a separate disability pension.             That is not the type of claim

contemplated by the ADA.          Accordingly, Mr. Wisner has failed

to allege a prima facie ADA case.             The Defendants’ Motion to

Dismiss Plaintiff’s Count III is granted.

    The Defendants also argue that even if Mr. Wisner’s

claims could otherwise survive, the ADA does not create a

cause     of   action     against    individual      supervisors.          The

Defendants’ allegation on this point is certainly true. As is

noted in the Defendant’s brief, it is well settled law that


                                      11


        Case 5:14-cv-04031-DEO Document 26 Filed 03/20/15 Page 11 of 17
ADA claims can only be brought against actual employers.               See

Fish v. Ristvedt, 192 F. Supp. 2d 1024, 1028 (D.N.D. 2002),

where Judge Webb analyzes this issue.           Accordingly, even if

Mr. Wisner’s claim could proceed, all non-employer Defendants

would be dismissed.

    Mr. Wisner also makes a claim, Count IV, under I.C.A. §

216, which is the Iowa Civil Rights Act [hereinafter ICRA].

In Count IV, Mr. Wisner (again) argues that the Defendant

discriminated    against     him   because     he   was   receiving      a

disability pension from the fire-fighter’s fund and that other

pension was the Defendant’s pretext for firing Mr. Wisner.

Both in his Complaint, Docket No. 1, and in his brief, Docket

No. 17, Att. 1, Mr. Wisner relies on the same arguments to

support his I.C.A. § 216 claim as he did to support his ADA

claim.

    “[D]iscrimination claims alleged under the Iowa Civil

Rights Act are analyzed in the same manner as their federal

law counterparts.”     Montgomery v. John Deere & Co., 169 F.3d

556, 558 n. 3 (8th Cir. 1999).          Because Mr. Wisner failed to

allege a prima facie discrimination case above, his case under




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     Case 5:14-cv-04031-DEO Document 26 Filed 03/20/15 Page 12 of 17
I.C.A. § 216 also fails and the Defendants’ Motion to Dismiss

must be granted.

    B.   State Law Claims

    In Count I, Mr. Wisner alleges the tort of defamation.

Specifically, Mr. Wisner argues that after the Defendants

terminated him, he was forced to put the fact that he was

terminated on job applications.         See Docket No. 1, p. 19, and

Docket No. 17, Att. 1, p. 5.        He alleges that forcing him to

report he was terminated amounts to defamation.

    Torts in Federal Court are controlled by state law.

Under Iowa law, defamation:

          is an impairment of a relational interest;
          it denigrates the opinion which others in
          the community have of the plaintiff and
          invades the plaintiff's interest in his
          reputation and good name.      A cause of
          action for defamation is based on the
          transmission of derogatory statements, not
          any physical or emotional distress to
          plaintiff which may result. Defamation law
          protects interests of personality, not of
          property.

Kiesau v. Bantz, 686 N.W.2d 164, 175 (Iowa 2004) (quoting

Schlegel v. Ottumwa Courier, 585 N.W.2d 217, 221 (Iowa 1998)).

Defamation under Iowa law consists of the “twin torts” of

“libel” and “slander,” where “libel” is defined as malicious


                                   13


     Case 5:14-cv-04031-DEO Document 26 Filed 03/20/15 Page 13 of 17
publication, expressed either in printing or in writing, or by

signs and pictures, tending to injure the reputation of

another person or to expose the person to public hatred,

contempt,      or    ridicule,   or     to    injure   the   person   in   the

maintenance of the person’s business, and “slander” is defined

as oral publication of defamatory material.                     McFarland v.

McFarland, 684 F. Supp. 2d 1073, 1086 (N.D. Iowa 2010).                    In

order to establish a prima facie case of defamation, the

plaintiff must prove that the defendants: (1) published a

statement that (2) was defamatory (3) of and concerning the

plaintiff, and (4) resulted in injury to the plaintiff.                    See

Bertrand v. Mullin, 846 N.W.2d 884, 891 (Iowa 2014).

         The Defendants argue, and the Court agrees, that Mr.

Wisner has failed to state a claim for defamation. Mr. Wisner

fails     to    allege    any    type        of   publication    of   alleged

defamation.5        Even if Mr. Wisner’s allegations were true, and

then Defendants did terminate him for an unlawful reason,



    5
       Mr. Wisner does not explicitly state what the alleged
defamation is.     Mr. Wisner seems to suggest that the
defamation is forcing him to report to potential employers
that he was terminated.    But that statement is true; Mr.
Wisner was terminated, and he admits as much. And truth is a
defense to defamation.

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        Case 5:14-cv-04031-DEO Document 26 Filed 03/20/15 Page 14 of 17
there     is    absolutely     no    allegation     that   the      Defendants

communicated the news of Mr. Wisner’s termination to anyone.

    As the Defendants point out, other Courts have considered

this type of issue.          As stated in Defendants’ brief:

               Plaintiff bears the burden of proving
               publication as one of the elements of
               defamation. Higgins v. Gordon Jewelry
               Corp., 433 N.W.2d 306 (Iowa App. 1988).
               Paragraphs 1 through 104 [of the Complaint]
               do not provide any factual basis that the
               personnel    evaluations    or  termination
               memorandum were communicated by anyone with
               the possible exception of the Plaintiff to
               any third parties as required for recovery.
               An employee’s firing is not inherently
               defamatory and for an action for defamation
               to proceed there must be publication by the
               employer of unprivileged and defamatory
               commentary about the employee to a third
               party. Huegerich v. IBP, Inc., 547 N.W.2d
               216 (Iowa 1996).         The statement or
               statements in order to be actionable must
               be communicated to a third party and not
               simply be a matter of communication between
               the employer and employee. See McBride v.
               City of Sioux City, 444 N.W.2d 85 (Iowa
               1989). There is no factual support for or
               claim of communication by the City or any
               of the named representatives...

Docket No. 12, Att. 2, p. 4.

    Because Mr. Wisner does not allege any publication of the

alleged     defamation,      he     has   failed   to   state   a   claim   for

defamation. Accordingly, the Court must grant the Defendants’

Motion to Dismiss Count I.

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        Case 5:14-cv-04031-DEO Document 26 Filed 03/20/15 Page 15 of 17
    In   Count    II,   the   Plaintiff     alleges    the   Defendants

breached a good faith duty.        Specifically, Mr. Wisner states

that the Defendants repeatedly changed his work duties and

work times in an effort to either make him quit or manufacture

a performance deficiency.

    Unfortunately, Iowa law does not recognize a ‘good faith

duty’ tort in the employment context.            As the Iowa Supreme

Court has stated:

          [plaintiff] next urges us to recognize a
          claim for breach of good faith and fair
          dealing, claiming that, as an employer,
          [defendant] is expected to follow its
          policies in good faith. In Iowa, the tort
          of breach of implied covenant of good faith
          and fair dealing has never been recognized
          in the employment context.       Grahek v.
          Voluntary Hosp. Co-op. Ass'n of Iowa, Inc.,
          473 N.W.2d 31, 34 (Iowa 1991). In recent
          years, we have continued to reject the
          doctrine... We see no reason to reconsider
          our position.

Phipps v. IASD Health Servs. Corp., 558 N.W.2d 198, 204 (Iowa

1997) (some internal citations omitted).

    Because there is no such tort in Iowa, Mr. Wisner’s Count

II fails as a matter of law and the Court must grant the




                                   16


     Case 5:14-cv-04031-DEO Document 26 Filed 03/20/15 Page 16 of 17
Defendants’ Motion to Dismiss.6

VI.   CONCLUSION

      For the reasons set out above, the Defendants’ Motion(s)

to Dismiss, Docket Nos. 12 and 13, are granted.             Mr. Wisner’s

pro se Complaint, Docket No. 1, is dismissed.

      IT IS SO ORDERED this 20th day of March, 2015.


                                  __________________________________
                                  Donald E. O’Brien, Senior Judge
                                  United States District Court
                                  Northern District of Iowa




      6
       In his brief, Mr. Wisner cites I.C.A. Section 91B(2)
in support of the existence of a ‘good faith duty’ tort.
However, that code section relates to immunity for worker
references and is not applicable to Mr. Wisner’s claim in
Count II.

                                    17


      Case 5:14-cv-04031-DEO Document 26 Filed 03/20/15 Page 17 of 17
